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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


RAYMOND THOMAS LATSON,

       Plaintiff,
v.                                                    CASE NO. 1:03-cv-00148-SPM-AK

JANICE SPANN,
et al,
       Defendants.
___________________________/

                                         ORDER

       This matter is before the Court on Plaintiff’s Motion for the Court to Order Access

to Legal Services. (Doc. 57). Plaintiff asks the Court to order the Florida Department of

Corrections to allow him access to the law library so he can respond to interrogatories

served upon him by the Defendants. Although the Court does not have a copy of the

interrogatories served upon Plaintiff, he should not have to do legal research to answer

them. Further, the Court cannot order the DOC to do anything since it is not a named

defendant in this cause. Plaintiff should address his concerns about visiting the law

library in a grievance. Thus, insofar as Plaintiff requests that the Court order DOC to let

him go to the law library, the motion is DENIED. However, the Court will grant Plaintiff

twenty (20) additional days to respond to the interrogatories since he indicates some

difficulty in responding to this discovery.

       DONE AND ORDERED at Gainesville, Florida, this 10th          day of May, 2005.

                                              s/ A. KORNBLUM
                                              ALLAN KORNBLUM
                                              UNITED STATES MAGISTRATE JUDGE
